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                            UNITED STATES DISTRICT COURT
                               DISTRICT OF MINNESOTA


 UNITED STATES OF AMERICA,                                   Crim. No. 0:19-00274-WMW-KMM

                        Plaintiff,

 v.
                                                                       ORDER
 JOHN EDWARD JUNEAU,

                        Defendant.


        This matter is before the Court for an Order regarding the parties’ non-dispositive pretrial
motions. The Court held a hearing on the motions on Tuesday, March 17, 2020. Based on the
motions and the discussion at oral argument, the Court enters the following Order.

        1.      Government’s Motion for Discovery. The government seeks an Order
permitting pretrial discovery from Mr. Juneau pursuant to Fed. R. Crim. P. 12.1, 12.2, 12.3,
16(b), and 26.2. Mr. Juneau does not object to the motion. The government’s motion [ECF
No. 4] is GRANTED. Mr. Juneau shall provide discovery as required by the applicable Rules
and case law. The government shall make its expert disclosures at least four weeks prior to
trial. Mr. Juneau shall provide his expert disclosures at least three weeks prior to trial.

        2.      Defendant’s Motion for Participation by Counsel in Voir Dire. Mr. Juneau’s
motion requesting permission for counsel to participate in voir dire [ECF No. 29] is DENIED
WITHOUT PREJUDICE. The manner in which voir dire will be conducted is properly handled
by the trial judge.

        3.      Defendant’s Pretrial Motion for Disclosure of Brady Material. Mr. Juneau
seeks an Order requiring the government to provide him with all favorable or exculpatory
evidence pursuant to Brady v. Maryland, 373 U.S. 83 (1963), Giglio v. United States, 405 U.S.
150 (1972), and their progeny. The government states that it understands its obligations pursuant
to this case law and will make disclosures as required. Brady, Giglio, and their progeny impose a
continuing obligation on the government to provide evidence favorable to the defendant in a
criminal case. Mr. Juneau’s motion [ECF No. 30] is GRANTED. The government shall provide
all such evidence to the defense as soon as possible after receiving or discovering it, and no later
than two weeks before trial.


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       4.      Defendant’s Pretrial Motion for Retention of Rough Notes. Mr. Juneau seeks
an Order requiring any law enforcement agent, including any confidential reliable informants, to
retain and preserve all rough notes taken as part of their investigation. The government does not
object to the motion and states that it has instructed its officers and agents to retain their rough
notes concerning this investigation. Mr. Juneau’s motion [ECF No. 31] is GRANTED.
Disclosure of rough notes is not required by this Order.

       5.      Defendant’s Pretrial Motion for Early Disclosure of Jencks Act Material.
Mr. Juneau argues that the Court should compel the government to disclose Jencks Act material
prior to trial in this case notwithstanding the language of 18 U.S.C. § 3500. The government
argues that this motion should be denied, but represents that it has already provided all or almost
all Jencks Act material, and it will disclose any remaining material no later than three business
days prior to trial. The Jencks Act does not require the disclosure of any witness statement or
report in the possession of the government until after the witness has testified at trial. 18 U.S.C.
§ 3500(a). Mr. Juneau’s motion [ECF No. 32] is DENIED.

       6.      Defendant’s Motion to File Later Motions for Good Cause. Mr. Juneau asks
the Court to enter an Order allowing him to file later motions concerning issues which arise or
are revealed through the discovery process upon a showing of good cause. The government does
not object to the motion. Mr. Juneau’s motion [ECF No. 33] is GRANTED. However, the Court
notes that Mr. Juneau need not file a motion requesting permission to do what the Federal Rules
of Criminal Procedure already allow. Fed. R. Crim. P. 12(c)(3) (“If a party does not meet the
deadline for making a Rule 12(b)(3) motion, the motion is untimely. But a court may consider
the defense, objection, or request if the party shows good cause.”).

       7.      Defendant’s Pretrial Motion for Pretrial Disclosure of Rule 404(b) Evidence.
Mr. Juneau seeks an Order requiring the government to disclose any evidence it intends to offer
at trial pursuant to Federal Rule of Evidence 404(b) and the witnesses through whom such
evidence will be presented. The government asserts that it will comply with the notice
requirements of Rule 404(b) and proposes disclosing such evidence within three weeks of trial.
Mr. Juneau’s motion [ECF No. 34] is GRANTED. The government shall provide the notice
required by Rule 404(b) at least three weeks prior to trial.

       8.      Defendant’s Pretrial Motion for Production of Grand Jury Transcripts.
Mr. Juneau argues that the government should be required to produce grand jury transcripts for
witnesses the government intends to call at the motion hearing or at trial. The government



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indicate that it called one witness before the grand jury in support of the Indictment and
Superseding Indictment and states that if the government calls that witness at the motions
hearing or at trial, it will provide his grand jury transcripts to the defense prior to the defense
counsel’s cross-examination of the witness. Mr. Juneau’s motion [ECF No. 35] is DENIED. The
Court may order the disclosure of grand jury transcripts upon a showing of “particularized need.”
United States v. Haire, 103 F.3d 697, 699 (8th Cir. 1996). Mr. Juneau has not made a showing of
particularized need.

        9.       Defendant’s Pretrial Motion for Discovery. Mr. Juneau seeks an Order
compelling the government to provide pretrial discovery pursuant to Fed. R. Crim. P. 16. The
government states that it has complied and will continue to comply with all of its discovery
obligations under the Federal Rules of Criminal Procedure and applicable case law. Mr. Juneau’s
motion [ECF No. 36] is GRANTED. The government shall provide discovery as required under
the applicable Rules and case law.

        10.      Defendant’s Motion to Schedule a Franks Hearing and Affidavit of Counsel.
Mr. Juneau requested a Franks hearing regarding several statements made by law enforcement
officials in their applications for two search warrants. Without determining definitively whether
Mr. Juneau made the preliminary showing required to obtain a Franks hearing, the Court held an
evidentiary hearing because taking that approach would limit the potential need for additional
proceedings amid the ongoing coronavirus pandemic. Moreover, the Court and the parties now
have a complete record from which to determine whether a preliminary showing under Franks
has been made, and if so, whether Mr. Juneau has shown that the warrant should be invalidated.
The Court will issue a ruling on this motion when it issues the report and recommendation
addressing the suppression issues.

        11.      Defendant’s Motion for Disclosure of Confidential Informant. Mr. Juneau
moves the Court for an Order pursuant to Roviaro v. United States, 353 U.S. 53 (1957), for the
disclosure of the identity of any confidential informants used in the government’s investigation
of this case. The government asserts that it did not use any confidential informants in its
investigation. The motion [ECF No. 58] is GRANTED to the extent that the government shall
make disclosures of any informant, if it becomes aware that an informant was used in the
investigation.

        12.      Defendant’s Motions to Suppress Evidence. At the hearing, the Court received
evidence relating to Mr. Juneau’s motions to suppress evidence obtained from the Columbia



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Heights and Coon Rapids residences pursuant to search warrants that were issued for each
location. [ECF Nos. 40, 41.] Mr. Juneau also filed a motion to suppress DNA evidence found on
a firearm that was retrieved during the search of a garage on the Coon Rapids property. [ECF
No. 70.] The Court set a schedule for the parties to submit post-hearing briefing for these
motions. The Court will take the suppression motions under advisement upon submission of the
final brief and will issue a report and recommendation.

       IT IS SO ORDERED.

Date: September 8, 2020

                                                              s/Katherine Menendez
                                                             Katherine Menendez
                                                             United States Magistrate Judge




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